                           UNITED STATES BANKRUPTCY COURT
                           WESTERN DISTRICT OF WASHINGTON
                                   TACOMA DIVISION

In re:                                                      Case No. 16-41120-BDL
         Patricia Jo Shay
         Keith Ronald Paulus
                     Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

        Michael G. Malaier, chapter 13 trustee, submits the following Final Report and Account
of the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as
follows:

         1) The case was filed on 03/16/2016.

         2) The plan was confirmed on 10/19/2016.

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

     4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was completed on 09/06/2019.

         6) Number of months from filing to last payment: 42.

         7) Number of months case was pending: 45.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $34,208.12.

         10) Amount of unsecured claims discharged without payment: $83,184.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




UST Form 101-13-FR-S (9/1/2009)




  Case 16-41120-BDL           Doc 49     Filed 12/03/19     Ent. 12/03/19 09:50:21        Pg. 1 of 4
Receipts:

       Total paid by or on behalf of the debtor                  $36,975.00
       Less amount refunded to debtor                               $700.11

NET RECEIPTS:                                                                                      $36,274.89


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                                    $3,280.00
    Court Costs                                                                $210.00
    Trustee Expenses & Compensation                                          $1,765.89
    Other                                                                        $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                    $5,255.89

Attorney fees paid and disclosed by debtor:                     $220.00


Scheduled Creditors:
Creditor                                          Claim         Claim            Claim       Principal      Int.
Name                                Class       Scheduled      Asserted         Allowed        Paid         Paid
AMERICAS CREDIT UNION           Unsecured          8,591.00            NA              NA            0.00       0.00
BANK OF AMERICA                 Unsecured          6,657.00       6,657.85        6,657.85      6,657.85        0.00
BANK OF AMERICA                 Unsecured          3,212.00            NA              NA            0.00       0.00
BECKET & LEE LLP ATTYS          Unsecured                NA         797.08          797.08        797.08        0.00
BEN BRIDGE JEWELERS             Unsecured                NA            NA              NA            0.00       0.00
BOEING EMPLOYEES CREDIT UNION   Unsecured          3,111.00       3,111.62        3,111.62      3,111.62        0.00
BOEING EMPLOYEES CREDIT UNION   Secured           13,758.00     13,479.88        13,419.32     13,419.32     591.27
CAP1/BSTBY                      Unsecured                NA            NA              NA            0.00       0.00
CAP1/LIZ                        Unsecured                NA            NA              NA            0.00       0.00
CAPITAL ONE BANK                Unsecured                NA       2,990.84        2,990.84      2,990.84        0.00
CAPITAL ONE BANK                Unsecured             154.00        154.25          154.25        154.25        0.00
CBNA                            Unsecured                NA            NA              NA            0.00       0.00
CHASE-CIRCUIT CITY              Unsecured                NA            NA              NA            0.00       0.00
CHERYL MORGAN                   Priority                 NA            NA              NA            0.00       0.00
CHILD SUPPORT ENFORCEMENT       Unsecured                NA            NA              NA            0.00       0.00
COMENITY BANK/ANNTYLR           Unsecured                NA            NA              NA            0.00       0.00
COMENITY BANK/CTPR&BKS          Unsecured                NA            NA              NA            0.00       0.00
COMENITY BANK/EDDIEBAU          Unsecured                NA            NA              NA            0.00       0.00
COMENITY BANK/EXPRESS           Unsecured                NA            NA              NA            0.00       0.00
COMENITY BANK/NWYRK&CO          Unsecured                NA            NA              NA            0.00       0.00
COMENITY BANK/VCTRSSEC          Unsecured                NA            NA              NA            0.00       0.00
DSHS/DCS OLYMPIA                Priority          36,388.00            NA              NA            0.00       0.00
FEB/FRYS                        Unsecured                NA            NA              NA            0.00       0.00
FRSTBANK                        Unsecured                NA            NA              NA            0.00       0.00
HEATHCARE RECOVERY SERVICES     Unsecured             160.00           NA              NA            0.00       0.00
INTERNAL REVENUE SERVICE        Unsecured                NA            NA              NA            0.00       0.00
JARED-GALLERIA OF JWLR          Unsecured                NA            NA              NA            0.00       0.00
KOHLS/CAPONE                    Unsecured                NA            NA              NA            0.00       0.00
MCYDSNB                         Unsecured                NA            NA              NA            0.00       0.00
NORDSTROM                       Unsecured                NA            NA              NA            0.00       0.00
PORTFOLIO RECOVERY              Unsecured                NA         439.03          439.03        439.03        0.00



UST Form 101-13-FR-S (9/1/2009)




 Case 16-41120-BDL        Doc 49            Filed 12/03/19      Ent. 12/03/19 09:50:21               Pg. 2 of 4
Scheduled Creditors:
Creditor                                       Claim         Claim         Claim        Principal        Int.
Name                             Class       Scheduled      Asserted      Allowed         Paid           Paid
QUANTUM 3 GROUP              Unsecured                NA         456.33        456.33        456.33          0.00
RGS FINANCIAL                Unsecured              78.00           NA            NA            0.00         0.00
SYNCB/CASUAL CORNER          Unsecured                NA            NA            NA            0.00         0.00
SYNCB/DISNEY                 Unsecured                NA            NA            NA            0.00         0.00
SYNCB/HOME DSGN CE/APP       Unsecured                NA            NA            NA            0.00         0.00
SYNCB/JCP                    Unsecured                NA            NA            NA            0.00         0.00
SYNCB/MERVYNS                Unsecured                NA            NA            NA            0.00         0.00
TARGET NB                    Unsecured                NA            NA            NA            0.00         0.00
TOYOTA MOTOR CREDIT CORP     Secured           26,000.00     10,190.95           0.00           0.00         0.00
USAMA DARWICHE HAMADE        Unsecured         67,300.00            NA            NA            0.00         0.00
UW MEDICAL CENTER            Unsecured          1,171.00            NA            NA            0.00         0.00
WEBBANK / FINGERHUT          Unsecured             185.00           NA            NA            0.00         0.00
WELLS FARGO BANK             Secured                  NA       1,037.41      1,037.41      1,037.41          0.00
WELLS FARGO BANK             Unsecured                NA       1,364.00      1,364.00      1,364.00          0.00
WF CRD SVC                   Unsecured          1,370.00            NA            NA            0.00         0.00
WFFNATBANK                   Unsecured          1,117.00            NA            NA            0.00         0.00


Summary of Disbursements to Creditors:
                                                              Claim           Principal                Interest
                                                            Allowed               Paid                    Paid
Secured Payments:
      Mortgage Ongoing                                       $0.00              $0.00                    $0.00
      Mortgage Arrearage                                     $0.00              $0.00                    $0.00
      Debt Secured by Vehicle                           $13,419.32         $13,419.32                  $591.27
      All Other Secured                                  $1,037.41          $1,037.41                    $0.00
TOTAL SECURED:                                          $14,456.73         $14,456.73                  $591.27

Priority Unsecured Payments:
       Domestic Support Arrearage                             $0.00                $0.00                 $0.00
       Domestic Support Ongoing                               $0.00                $0.00                 $0.00
       All Other Priority                                     $0.00                $0.00                 $0.00
TOTAL PRIORITY:                                               $0.00                $0.00                 $0.00

GENERAL UNSECURED PAYMENTS:                             $15,971.00         $15,971.00                    $0.00


Disbursements:

       Expenses of Administration                             $5,255.89
       Disbursements to Creditors                            $31,019.00

TOTAL DISBURSEMENTS :                                                                         $36,274.89




UST Form 101-13-FR-S (9/1/2009)




 Case 16-41120-BDL         Doc 49        Filed 12/03/19      Ent. 12/03/19 09:50:21             Pg. 3 of 4
        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 12/03/2019                             By:/s/ Michael G. Malaier
                                                                     Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




UST Form 101-13-FR-S (9/1/2009)




  Case 16-41120-BDL           Doc 49      Filed 12/03/19      Ent. 12/03/19 09:50:21         Pg. 4 of 4
